                        Case 11-00225                         Doc 1         Filed 01/04/11 Entered 01/04/11 16:50:30                                                    Desc Main
                                                                              Document     Page 1 of 55
B1 (Official Form 1)(4/10)
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Matusevich, Eugeny                                                                                           Matusevich, Olga


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  AKA Eugene Matusevich; AKA Evgeny Matusevich



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-6385                                                                                                  xxx-xx-9673
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  1137 Highland Lane                                                                                          1137 Highland Lane
  Glenview, IL                                                                                                Glenview, IL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         60025-2541                                                                                    60025-2541
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Cook                                                                                                         Cook
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                  Case 11-00225                 Doc 1          Filed 01/04/11 Entered 01/04/11 16:50:30                                       Desc Main
                                                                 Document     Page 2 of 55
B1 (Official Form 1)(4/10)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Matusevich, Eugeny
(This page must be completed and filed in every case)                                   Matusevich, Olga
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X /s/ Dennis G. Knipp                                     January 4, 2011
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Dennis G. Knipp

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case 11-00225                  Doc 1          Filed 01/04/11 Entered 01/04/11 16:50:30                                     Desc Main
                                                                  Document     Page 3 of 55
B1 (Official Form 1)(4/10)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Matusevich, Eugeny
(This page must be completed and filed in every case)                                       Matusevich, Olga
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X /s/ Eugeny Matusevich                                                                       Signature of Foreign Representative
     Signature of Debtor Eugeny Matusevich

 X /s/ Olga Matusevich                                                                         Printed Name of Foreign Representative
     Signature of Joint Debtor Olga Matusevich
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     January 4, 2011
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ Dennis G. Knipp                                                                         chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Dennis G. Knipp ARDC # 1491628                                                           debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Dennis G. Knipp
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      PMB 142
      8926 N. Greenwood Avenue                                                                 Social-Security number (If the bankrutpcy petition preparer is not
      Niles, IL 60714                                                                          an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      847-562-0729 Fax: 847-562-0849
     Telephone Number
     January 4, 2011
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Eugeny Matusevich
 In re       Olga Matusevich                                                                              Case No.
                                                                                       Debtor(s)          Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                     Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:              /s/ Eugeny Matusevich
                                                                                            Eugeny Matusevich
                                                          Date:           January 4, 2011




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Eugeny Matusevich
 In re       Olga Matusevich                                                                              Case No.
                                                                                       Debtor(s)          Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                     Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:          /s/ Olga Matusevich
                                                                                        Olga Matusevich
                                                          Date:           January 4, 2011




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
  In re          Eugeny Matusevich,                                                                               Case No.
                 Olga Matusevich
                                                                                                            ,
                                                                                           Debtors                Chapter                 7




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF        ASSETS                LIABILITIES              OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1                521,625.00


B - Personal Property                                            Yes                5                 22,572.39


C - Property Claimed as Exempt                                   Yes                2


D - Creditors Holding Secured Claims                             Yes                3                                       754,640.37


E - Creditors Holding Unsecured                                  Yes                1                                             0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                11                                      725,146.56
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                1                                                              2,200.00
    Debtor(s)

J - Current Expenditures of Individual                           Yes                2                                                              5,583.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          28


                                                                           Total Assets              544,197.39


                                                                                             Total Liabilities          1,479,786.93




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Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
  In re           Eugeny Matusevich,                                                                                       Case No.
                  Olga Matusevich
                                                                                                                ,
                                                                                             Debtors                       Chapter              7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                        Amount

              Domestic Support Obligations (from Schedule E)                                                            0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                        0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                        0.00

              Student Loan Obligations (from Schedule F)                                                                0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                        0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                        0.00

                                                                                     TOTAL                              0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                             2,200.00

              Average Expenses (from Schedule J, Line 18)                                                           5,583.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                              2,200.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                              0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                        0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                              0.00

              4. Total from Schedule F                                                                                                  725,146.56

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                              725,146.56




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B6A (Official Form 6A) (12/07)


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  In re          Eugeny Matusevich,                                                                                       Case No.
                 Olga Matusevich
                                                                                                              ,
                                                                                                Debtors
                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                                  Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption

Debtors' Residence:                                                                  Fee Simple                   J                  521,625.00               754,640.37
Single Family Dwelling
1137 Highland Lane
Glenview, IL 60025-2541




                                                                                                              Sub-Total >            521,625.00       (Total of this page)

                                                                                                                      Total >        521,625.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                              (Report also on Summary of Schedules)
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  In re          Eugeny Matusevich,                                                                                         Case No.
                 Olga Matusevich
                                                                                                                ,
                                                                                               Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              Cash On Hand                                                           J                           500.00

2.    Checking, savings or other financial                      Checking and Savings Account                                           H                           450.00
      accounts, certificates of deposit, or                     Eugeny
      shares in banks, savings and loan,                        TCF Bank
      thrift, building and loan, and                            Glenview, IL 60025
      homestead associations, or credit
      unions, brokerage houses, or                              Checking Account                                                       W                           350.00
      cooperatives.                                             Olga
                                                                TCF Bank
                                                                Glenview, IL 60025

                                                                Checking Account                                                       W                           300.00
                                                                Olga
                                                                PNC Bank
                                                                Niles, IL 60714

                                                                Checking Account                                                       W                           200.00
                                                                Olga
                                                                Bank of America
                                                                Glenview, IL 60026

3.    Security deposits with public                         X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          TV and Furniture                                                       J                        1,600.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                         X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                          Clothing                                                               J                        1,000.00

7.    Furs and jewelry.                                         Jewelry                                                                W                           800.00




                                                                                                                                       Sub-Total >            5,200.00
                                                                                                                           (Total of this page)

  4     continuation sheets attached to the Schedule of Personal Property

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  In re          Eugeny Matusevich,                                                                                         Case No.
                 Olga Matusevich
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

8.    Firearms and sports, photographic,                        Smith & Wesson                                                         H                           200.00
      and other hobby equipment.                                M&P Pistol (9mm)

9.    Interests in insurance policies.                          Term Life Insurance Policy                                             H                              0.00
      Name insurance company of each                            Eugeny
      policy and itemize surrender or                           Lincoln Benefit Life Company
      refund value of each.                                     P.O. Box 3582
                                                                Akron, OH 44309-3582
                                                                No Cash Surrender Value

                                                                Term Life Insurance Policy                                             W                              0.00
                                                                Olga
                                                                Lincoln Benefit Life Company
                                                                P.O. Box 3582
                                                                Akron, OH 44309-3582
                                                                No Cash Surrender Value

10. Annuities. Itemize and name each                        X
    issuer.

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                          IRA Retirement Account                                                 H                        8,578.18
    other pension or profit sharing                             Eugeny
    plans. Give particulars.                                    Bank of America
                                                                Glenview, IL 60026

                                                                IRA Retirement Account                                                 W                        8,594.21
                                                                Olga
                                                                Bank of America
                                                                Glenview, IL 60026

13. Stock and interests in incorporated                         100% Shareholders                                                      J                              0.00
    and unincorporated businesses.                              Common Stock
    Itemize.                                                    Eugeny & Olga
                                                                Amris Corporation
                                                                1137 Highland Lane
                                                                Glenview, IL 60025-2541
                                                                Currently Not Doing Business
                                                                Stock Not Publicly Traded
                                                                No Current Market Value




                                                                                                                                       Sub-Total >          17,372.39
                                                                                                                           (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Eugeny Matusevich,                                                                                         Case No.
                 Olga Matusevich
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption
                                                                50% Partnership Interest                                               H                              0.00
                                                                Eugeny
                                                                Ancor Management Group, L.L.C.
                                                                475 Lindberg
                                                                Northbrook, IL 60062
                                                                Debtor Does Not Actively Participate in Business
                                                                No Current Market Value

                                                                100% Partnership Interest                                              J                              0.00
                                                                Eugeny & Olga
                                                                Ameris L.L.C.
                                                                1137 Highland Lane
                                                                Glenview, IL 60025-2541
                                                                Ceased Business Activity:12/31/2009
                                                                No Current Market Value

                                                                100% Shareholders                                                      J                              0.00
                                                                Common Stock
                                                                Eugeny & Olga
                                                                Aris Corporation
                                                                1137 Highland Lane
                                                                Glenview, IL 60025-2541
                                                                Ceased Business Activity: 08/31/2009
                                                                No Current Market Value

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.




                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re          Eugeny Matusevich,                                                                                         Case No.
                 Olga Matusevich
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                       X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          Debtors Utilize Son's Vehicle                                          J                              0.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                      X
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                X

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.


                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re          Eugeny Matusevich,                                                                                         Case No.
                 Olga Matusevich
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

34. Farm supplies, chemicals, and feed.                     X

35. Other personal property of any kind                     X
    not already listed. Itemize.




                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)
                                                                                                                                            Total >         22,572.39
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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   In re          Eugeny Matusevich,                                                                                           Case No.
                  Olga Matusevich
                                                                                                                   ,
                                                                                                Debtors
                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                               with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                         Value of                 Current Value of
                    Description of Property                                                Each Exemption                             Claimed                  Property Without
                                                                                                                                     Exemption               Deducting Exemption
Real Property
Debtors' Residence:                                                            735 ILCS 5/12-901                                           30,000.00                      521,625.00
Single Family Dwelling
1137 Highland Lane
Glenview, IL 60025-2541

Cash on Hand
Cash On Hand                                                                   735 ILCS 5/12-1001(b)                                           500.00                            500.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking and Savings Account                      735 ILCS 5/12-1001(b)                                                                        450.00                            450.00
Eugeny
TCF Bank
Glenview, IL 60025

Checking Account                                                               735 ILCS 5/12-1001(b)                                           350.00                            350.00
Olga
TCF Bank
Glenview, IL 60025

Checking Account                                                               735 ILCS 5/12-1001(b)                                           300.00                            300.00
Olga
PNC Bank
Niles, IL 60714

Checking Account                                                               735 ILCS 5/12-1001(b)                                           200.00                            200.00
Olga
Bank of America
Glenview, IL 60026

Household Goods and Furnishings
TV and Furniture                                                               735 ILCS 5/12-1001(b)                                         1,600.00                         1,600.00

Wearing Apparel
Clothing                                                                       735 ILCS 5/12-1001(a)                                         1,000.00                         1,000.00

Furs and Jewelry
Jewelry                                                                        735 ILCS 5/12-1001(b)                                           800.00                            800.00

Firearms and Sports, Photographic and Other Hobby Equipment
Smith & Wesson                                  735 ILCS 5/12-1001(b)                                                                          200.00                            200.00
M&P Pistol (9mm)

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
IRA Retirement Account                              735 ILCS 5/12-704                                                                        8,578.18                         8,578.18
Eugeny
Bank of America
Glenview, IL 60026




    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/10) -- Cont.




   In re          Eugeny Matusevich,                                                                                Case No.
                  Olga Matusevich
                                                                                                                ,
                                                                                                 Debtors
                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                        (Continuation Sheet)

                                                                                        Specify Law Providing           Value of            Current Value of
                    Description of Property                                                Each Exemption               Claimed             Property Without
                                                                                                                       Exemption          Deducting Exemption

IRA Retirement Account                                                         735 ILCS 5/12-704                               8,594.21               8,594.21
Olga
Bank of America
Glenview, IL 60026




                                                                                                     Total:                52,572.39               544,197.39
 Sheet      1     of     1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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   In re          Eugeny Matusevich,                                                                                          Case No.
                  Olga Matusevich
                                                                                                                 ,
                                                                                                   Debtors
                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                           O    N   I
                                                              D   H         DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                           T    I   P       WITHOUT           UNSECURED
            INCLUDING ZIP CODE,                               B   W            NATURE OF LIEN, AND                        I    Q   U                         PORTION, IF
                                                              T   J           DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                          DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                           G    I   E       VALUE OF             ANY
             (See instructions above.)
                                                                  C                OF PROPERTY
                                                              R
                                                                                  SUBJECT TO LIEN
                                                                                                                          E    D   D     COLLATERAL
                                                                                                                          N    A
                                                                                                                          T    T
Account No. xxxxxx8671                                                07/08/2003                                               E
                                                                                                                               D

Chase Home Finance LLC                                                First Mortgage on Residence
Mail Code CA2-0824
                                                                    Debtors' Residence:
P.O. Box 509011
                                                                  J 1137 Highland Lane
San Diego, CA 92150-9011                                            Glenview, IL 60025-2541
                                                                       Value $                           521,625.00                        391,577.85                      0.00
Account No. xxxxxx8671                                                07/08/2003

Chase Home Finance LLC                                                First Mortgage Arrearage on Residence
Mail Code CA2-0824
                                                                    Debtors' Residence:
P.O. Box 509011
                                                                  J 1137 Highland Lane
San Diego, CA 92150-9011                                            Glenview, IL 60025-2541
                                                                       Value $                           521,625.00                         80,403.48                      0.00
Account No. xxxxxx8671                                                07/08/2003
                                                                      First Mortgage on Residence
Chase Home Finance LLC
                                                                    For Notification Purposes
3415 Vision Drive
                                                                    Debtors' Residence:
Columbus, OH 43219-6009
                                                                  J 1137 Highland Lane
                                                                    Glenview, IL 60025-2541
                                                                       Value $                                 0.00                              0.00                      0.00
Account No. xxxxxx0660                                                06/21/2007

Chase Home Finance LLC                                                Second Mortgage on Residence
Mail Code CA2-0824
                                                                    Debtors' Residence:
P.O. Box 509011
                                                                  J 1137 Highland Lane
San Diego, CA 92150-9011                                            Glenview, IL 60025-2541
                                                                       Value $                           521,625.00                        250,000.00                      0.00
                                                                                                                       Subtotal
 2
_____ continuation sheets attached                                                                                                         721,981.33                      0.00
                                                                                                              (Total of this page)




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   In re          Eugeny Matusevich,                                                                                           Case No.
                  Olga Matusevich
                                                                                                                  ,
                                                                                                   Debtors

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                  O                                                            O    N   I
                                                              D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT        UNSECURED
                                                                  W               NATURE OF LIEN, AND                                                      PORTION, IF
            INCLUDING ZIP CODE,                               B
                                                                                 DESCRIPTION AND VALUE
                                                                                                                           I    Q   U
                                                                                                                                           DEDUCTING
                                                              T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                 O   C                   OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                             R
                                                                                     SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxxx0660                                                06/21/2007                                                E
                                                                                                                                D
                                                                      Second Mortgage Arrearage on
Chase Home Finance LLC                                                Residence
Mail Code CA2-0824
                                                                    Debtors' Residence:
P.O. Box 509011
                                                                  J 1137 Highland Lane
San Diego, CA 92150-9011                                            Glenview, IL 60025-2541
                                                                       Value $                           521,625.00                          24,419.04                   0.00
Account No. xxxxxx0660                                              06/21/2007
                                                                    Second Mortgage on Residence
                                                                    For Notification Purposes
Chase Home Finance LLC                                              Debt Collection
c/o Bureau of Recovery, LLC                                         Debtors' Residence:
1813 E. Dyer Road, Suite 411                                        1137 Highland Lane
                                                                  J Glenview, IL 60025-2541
Santa Ana, CA 92705
                                                                    Ref. # 1577328
                                                                       Value $                                 0.00                               0.00                   0.00
Account No. xxxxxx0660                                                06/21/2007
                                                                      Second Mortgage on Residence
Chase Home Finance LLC
                                                                    For Notification Purposes
3415 Vision Drive
                                                                    Debtors' Residence:
Columbus, OH 43219-6009
                                                                  J 1137 Highland Lane
                                                                    Glenview, IL 60025-2541
                                                                       Value $                                 0.00                               0.00                   0.00
Account No. xxxxxx0660                                              06/21/2007
                                                                    Second Mortgage on Residence
                                                                    For Notification Purposes
Chase Home Finance LLC                                              Debt Collection
c/o AWA Collections                                                 Debtors' Residence:
P.O. Box 5545                                                       1137 Highland Lane
                                                                  J Glenview, IL 60025-2541
Orange, CA 92863
                                                                    Ref. # 5025175
                                                                       Value $                                 0.00                               0.00                   0.00
Account No. 04-33-116-011-0000                                        2010
                                                                      Real Estate Taxes
Cook County Treasurer
                                                                    For Notification Purposes
Law Department
                                                                    Debtors' Residence:
118 N. Clark Street, Room 212
                                                                  J 1137 Highland Lane
Chicago, IL 60602                                                   Glenview, IL 60025-2541
                                                                       Value $                                 0.00                               0.00                   0.00
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Sheet _____    2
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                             24,419.04                   0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)




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   In re          Eugeny Matusevich,                                                                                           Case No.
                  Olga Matusevich
                                                                                                                  ,
                                                                                                   Debtors

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                              C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                  O                                                            O    N   I
                                                              D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                            T    I   P       WITHOUT        UNSECURED
                                                                  W               NATURE OF LIEN, AND                                                      PORTION, IF
            INCLUDING ZIP CODE,                               B
                                                                                 DESCRIPTION AND VALUE
                                                                                                                           I    Q   U
                                                                                                                                           DEDUCTING
                                                              T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                 O   C                   OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                             R
                                                                                     SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. 09CH14464                                                 09/15/2008 - 09/22/2008                                   E
                                                                                                                                D
                                                                      Mechanic's Lien
J & J Roofing and Construction, Inc
                                                                    Home Improvement (Roofing)
10 S 147 Clarendon Hills Road
                                                                    Debtors' Residence:
Willowbrook, IL 60527
                                                                  J 1137 Highland Lane
                                                                    Glenview, IL 60025-2541
                                                                       Value $                           521,625.00                           8,240.00                   0.00
Account No. 09CH14464                                               09/15/2008 - 09/22/2008
                                                                    Mechanic's Lien
J & J Roofing and Construction, Inc                                 For Notification Purposes
c/o Kindwald Law Offices, P.C.                                      Home Improvement (Roofing)
                                                                    Debtors' Residence:
105 West Madison Street, Suite 2100
                                                                  J 1137 Highland Lane
Chicago, IL 60602                                                   Glenview, IL 60025-2541
                                                                       Value $                                  0.00                              0.00                   0.00
Account No. 09CH14464                                               07/08/2003
                                                                    First Mortgage Foreclosure on
JPMorgan Chase Bank                                                 Residence
c/o Heavner,Scott,Beyers&Mihlar,LLC                                 For Notification Purposes
                                                                    Debtors' Residence:
111 E. Main Street, Suite 200
                                                                  J 1137 Highland Lane
Decatur, IL 62523                                                   Glenview, IL 60025-2541
                                                                       Value $                                  0.00                              0.00                   0.00
Account No.




                                                                       Value $
Account No.




                                                                       Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                   Subtotal
                                                                                                                                              8,240.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                   (Total of this page)
                                                                                                                           Total            754,640.37                   0.00
                                                                                                 (Report on Summary of Schedules)

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  In re          Eugeny Matusevich,                                                                                                Case No.
                 Olga Matusevich
                                                                                                                      ,
                                                                                                  Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0          continuation sheets attached
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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 330123738                                                               09/11/2009 & 09/12/2009                                 T   T
                                                                                                                                                E
                                                                                    Medical Services                                            D

Advocate Lutheran General Hospital                                                  Ref. # 4753366
Patient Financial Services                                                      H
1775 Dempster Street
Park Ridge, IL 60068
                                                                                                                                                                       1,445.78
Account No. xxxxxx3522                                                            04/25/2005
                                                                                  Deficiency Balance - First Mortgage
American Home Mrtge. Servicing Inc.                                               18683 Collins Avenue, Unit 1610
P.O. Box 619063                                                                 J Sunny Isles Beach, FL 33160-2404
Dallas, TX 75261-9063                                                             Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                   260,290.68
Account No. xxxxxx3522                                                            04/25/2005
                                                                                  For Notification Purposes
American Home Mrtge. Servicing Inc.                                               Deficiency Balance - First Mortgage
P.O. Box 631730                                                                 J 18683 Collins Avenue, Unit 1610
Irving, TX 75063-1730                                                             Sunny Isles Beach, FL 33160-2404
                                                                                  Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                             0.00
Account No. xxxxxx3522                                                            04/25/2005
                                                                                  For Notification Purposes-Debt Collection
American Home Mrtge. Servicing Inc.                                               Deficiency Balance - First Mortgage
c/o Real Time Resolutions, Inc.                                                 J 18683 Collins Avenue, Unit 1610
P.O. Box 35888                                                                    Sunny Isles Beach, FL 33160-2404
Dallas, TX 75235-0888                                                             Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                             0.00

                                                                                                                                        Subtotal
 10 continuation sheets attached
_____                                                                                                                                                              261,736.46
                                                                                                                              (Total of this page)




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                                                                         Document     Page 23 of 55
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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 09-19868 CA 6                                                           04/25/2005                                              E
                                                                                    For Notification Purposes                               D

Ancor Management Group, LLC
475 Lindberg                                                                    J
Northbrook, IL 60062

                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
Benchmark Hospitality International                                               Condominium Assessment Arrearage
4 Waterway Square Place, Suite 300                                              J 18683 Collins Avenue, Unit 1610
The Woodlands, TX 77380-2692                                                      Sunny Isles Beach, FL 33160-2404
                                                                                  Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. xxx-xx-9673                                                           Prior to Date of Filing
                                                                                  For Notification Purposes
Central Credit Services Inc.                                                      Debt Collection
P.O. Box 15118                                                                  J Consumer Debt
Jacksonville, FL 32239-5118

                                                                                                                                                                      0.00
Account No. 10 M1 157112                                                          Prior to 05/19/2010
                                                                                  Contract Complaint Filed
Chase Bank USA, N.A.                                                              Credit Card Default
c/o Michael D. Fine                                                             W Ex-Parte Judgment Entered:
131 South Dearborn Street, Floor 5                                                10/05/2010
Chicago, IL 60603
                                                                                                                                                              18,764.01
Account No. xxxx xxxx xxxx 7664                                                     Prior to 05/19/2010
                                                                                    For Notification Purposes
Chase Bank USA, N.A.                                                                Credit Card
200 White Clay Center Drive                                                     W
Newark, DE 19711-5466

                                                                                                                                                                      0.00

           1
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                              18,764.01
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxx xxxx xxxx 7664                                                     Prior to 05/19/2010                                     E
                                                                                    For Notification Purposes                               D

Chase Cardmember Service                                                            Credit Card
P.O. Box 15298                                                                  W
Wilmington, DE 19850-5298

                                                                                                                                                                      0.00
Account No. 10 L 010240                                                           04/25/2005
                                                                                  Contract Complaint Filed
Citibank, N.A.                                                                    Debt Collection - Deficiency Balance
c/oBlatt,Hasenmiller,Leibsker&Moore                                             J Second Mortgage
125 South Wacker Drive, Suite 400                                                 18683 Collins Avenue, Unit 1610
                                                                                  Sunny Isles Beach, FL 33160-2404
Chicago, IL 60606-4440
                                                                                  Judicial Sale of Property:
                                                                                  07/13/2010                                                                  91,250.00
Account No. xxxxxx3750                                                            04/25/2005
                                                                                  For Notification Purposes
Citibank, N.A.                                                                    Deficiency Balance - Second Mortgage
P.O. Box 790110                                                                 J 18683 Collins Avenue, Unit 1610
Saint Louis, MO 63179-0110                                                        Sunny Isles Beach, FL 33160-2404
                                                                                  Judicial Sale of Property:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. xxxxxx3750                                                            04/25/2005
                                                                                  For Notification Purposes
Citibank, N.A.                                                                    Deficiency Balance - Second Mortgage
3900 Paradise Road, Suite 127                                                   J 18683 Collins Avenue, Unit 1610
Las Vegas, NV 89109                                                               Sunny Isles Beach, FL 33160-2404
                                                                                  Judicial Sale of Property:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. 09-19868 CA 6                                                         04/25/2005
                                                                                  For Notification Purposes
Deutsche Bank National Trust Co.                                                  Deficiency Balance - First Mortgage
c/o Ben-Ezrz & Katz, P.A.                                                       J 18683 Collins Avenue, Unit 1610
2901 Stirling Road, Suite 300                                                     Sunny Isles Beach, FL 33160-2404
Fort Lauderdale, FL 33312                                                         Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00

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Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxxxx3522                                                            04/25/2005                                                E
                                                                                  For Notification Purposes                                 D

Deutsche Bank National Trust Co.                                                  Deficiency Balance - First Mortgage
c/o Ronaldo E. Pereira Esq & Etal                                               J 18683 Collins Avenue, Unit 1610
P.O. Box 25018                                                                    Sunny Isles Beach, FL 33160-2404
Tampa, FL 33622                                                                   Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
Fortune International Hospitality                                                 Condominium Assessment Arrearage
c/o Hyman Spector & Mars, LLP                                                   J 18683 Collins Avenue, Unit 1610
150 West Flagler Street, 27th Floor                                               Sunny Isles Beach, FL 33160-2404
Miami, FL 33130                                                                   Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
Fortune International Hospitality                                                 Condominium Assessment Arrearage
c/o The Continental Group, Inc.                                                 J 18683 Collins Avenue, Unit 1610
2950 North 28th Terrace                                                           Sunny Isles Beach, FL 33160-2404
Hollywood, FL 33020-1301                                                          Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
Fortune International Hospitality                                                 Condominium Assessment Arrearage
c/o The Continental Group, Inc.                                                 J 18683 Collins Avenue, Unit 1610
P.O. Box 028103                                                                   Sunny Isles Beach, FL 33160-2404
Miami, FL 33102-8103                                                              Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. xxx-xx-6385 & xxx-xx-9673                                               Prior to Date of Filing
                                                                                    Medical Services
Glen Endoscopy Center
2551 Compass Road, Suite 115                                                    J
Glenview, IL 60026-8042

                                                                                                                                                                2,000.00

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Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                2,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxx-xx-6385 & xxx-xx-9673                                               Prior to Date of Filing                                 E
                                                                                    For Notification Purposes                               D

Lake Shore Gastroenterology                                                         Medical Services
P.O. Box 7630                                                                   J
Gurnee, IL 60031

                                                                                                                                                                      0.00
Account No. xxx-xx-6385 & xxx-xx-9673                                               Prior to Date of Filing
                                                                                    For Notification Purposes
Lake Shore Gastroenterology                                                         Medical Services
20 Tower Court                                                                  J
Suite C
Gurnee, IL 60031
                                                                                                                                                                      0.00
Account No. 00034639                                                              Prior to 04/08/2010
                                                                                  For Notification Purposes
Loft Downtown Condo Assn., Inc.                                                   Condominium Assessment Arrearage
KW Property Mgmt & Consulting LLC                                               J 234 NE 3rd Street, Unit 1507
P.O. Box 628207                                                                   Miami, FL 33132-2272
Orlando, FL 32862-8207                                                            Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                      0.00
Account No. 00034639                                                              Prior to 04/08/2010
                                                                                  Debt Collection
Loft Downtown Condo Assn., Inc.                                                   Condominium Assessment Arrearage
c/o Akerman Senterfitt                                                          J 234 NE 3rd Street, Unit 1507
One Southeast Third Avenue, 25th FL                                               Miami, FL 33132-2272
Miami, FL 33131-1714                                                              Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                              12,574.77
Account No. 00034639                                                              Prior to 04/08/2010
                                                                                  For Notification Purposes
Loft Downtown Condo Assn., Inc.                                                   Condominium Assessment Arrearage
KW Property Mgmt & Consulting LLC                                               J 234 NE 3rd Street, Unit 1507
396 Alhambra Circle, Suite 230                                                    Miami, FL 33132-2272
Coral Gables, FL 33134-5007                                                       Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                      0.00

           4
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                              12,574.77
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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                                                                         Document     Page 27 of 55
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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
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Account No. 00034639                                                              Prior to 04/08/2010                                       E
                                                                                  For Notification Purposes                                 D

Loft Downtown Condo Assn., Inc.                                                   Condominium Assessment Arrearage
KW Property Mgmt & Consulting LLC                                               J 234 NE 3rd Street, Unit 1507
8200 NW 33rd Street, Suite 300                                                    Miami, FL 33132-2272
Miami, FL 33122-1942                                                              Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
M Resort Residences CA, Inc.                                                      Condominium Assessment Arrearage
c/o The Continental Group, Inc.                                                 J 18683 Collins Avenue, Unit 1610
P.O. Box 229030                                                                   Sunny Isles Beach, FL 33160-2404
Hollywood, FL 33022-9030                                                          Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  Condominium Assessment Arrearage
M Resort Residences CA, Inc.                                                      18683 Collins Avenue, Unit 1610
c/o AR-Department                                                               J Sunny Isles Beach, FL 33160-2404
4400 Biscayne Blvd., Suite 550                                                    Property Sold By Judicial Sale:
Miami, FL 33137-3212                                                              07/13/2010
                                                                                                                                                              17,524.36
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
M Resort Residences CA, Inc.                                                      Condominium Assessment Arrearage
c/o Robert Brizel, CPA                                                          J 18683 Collins Avenue, Unit 1610
1021 Ives Dairy Road, Suite 113                                                   Sunny Isles Beach, FL 33160-2404
Miami, FL 33179                                                                   Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
M Resort Residences CA, Inc.                                                      Condominium Assessment Arrearage
c/o Joseph H. Ganguzza                                                          J 18683 Collins Avenue, Unit 1610
1 SE 3rd Avenue, Suite 2150                                                       Sunny Isles Beach, FL 33160-2404
Miami, FL 33131                                                                   Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00

           5
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                              17,524.36
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




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                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                   (See instructions above.)                                R                                                           E   D   D
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Account No. 07630000161001/1200580110                                             Prior to 07/13/2010                                       E
                                                                                  For Notification Purposes                                 D

M Resort Residences CA, Inc.                                                      Condominium Assessment Arrearage
c/o AR-Department Lockbox                                                       J 18683 Collins Avenue, Unit 1610
P.O. Box 864401                                                                   Sunny Isles Beach, FL 33160-2404
Orlando, FL 32886-4401                                                            Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
M Resort Residences CA, Inc.                                                      Condominium Assessment Arrearage
18683 Collins Avenue                                                            J 18683 Collins Avenue, Unit 1610
North Miami Beach, FL 33160-2404                                                  Sunny Isles Beach, FL 33160-2404
                                                                                  Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. xxx-xx-6385                                                             Prior to Date of Filing
                                                                                    For Notification Purposes Only
Marat and Tamara Sedenkov
1908 Monroe Avenue                                                              J
Glenview, IL 60025

                                                                                                                                                                      0.00
Account No. 07630000161001/1200580110                                             Prior to 07/13/2010
                                                                                  For Notification Purposes
Marenas Resort                                                                    Condominium Assessment Arrearage
18683 Collins Avenue                                                            J 18683 Collins Avenue, Unit 1610
Sunny Isles Beach, FL 33160-2404                                                  Sunny Isles Beach, FL 33160-2404
                                                                                  Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00
Account No. 31 2202-045-2000                                                      2010
                                                                                  For Notification Purposes
Miami-Dade County Tax Collector                                                   Real Estate Taxes
140 W. Flagler Street, Room 101                                                 J 18683 Collins Avenue, Unit 1610
Miami, FL 33130                                                                   Sunny Isles Beach, FL 33160-2404
                                                                                  Property Sold By Judicial Sale:
                                                                                  07/13/2010
                                                                                                                                                                      0.00

           6
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                      0.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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                                                                         Document     Page 29 of 55
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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




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                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
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                   (See instructions above.)                                R                                                           E   D   D
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                                                                                                                                        T   T
Account No. 01 4137-051-1430                                                      2010                                                      E
                                                                                  For Notification Purposes                                 D

Miami-Dade County Tax Collector                                                   Real Estate Taxes
140 W. Flagler Street, Room 101                                                 J 234 NE 3rd Street, Unit 1507
Miami, FL 33130                                                                   Miami, FL 33132-2272
                                                                                  Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                      0.00
Account No. 02687-01                                                              Prior to Date of Filing
                                                                                  Sanitary Sewer District Annual Fees
Northfield Township                                                               Debtors' Residence:
Sanitary Sewer District                                                         J 1137 Highland Lane
3801 West Lake Avenue                                                             Glenview, IL 60025-2541
Glenview, IL 60026
                                                                                                                                                                  224.27
Account No. 9386027                                                                 06/14/2010
                                                                                    Medical Services
NorthShore University Health System
Hospital Billing                                                                W
23056 Network Place
Chicago, IL 60673-1230
                                                                                                                                                                1,271.67
Account No. 9386027                                                               06/14/2010
                                                                                  For Notification Purposes
NorthShore University Health System                                               Debt Collection
c/o Pinnacle Management Services                                                W Medical Services
514 Market Loop, Suite 103
West Dundee, IL 60118
                                                                                                                                                                      0.00
Account No. 508721                                                                Prior to 09/28/2010
                                                                                  Medical Services
NorthShore University Health System                                               Acct.#'s 508721-42933029,
Hospital Billing                                                                W 508721-43042128,
23056 Network Place                                                               & 508721-43042129
Chicago, IL 60673-1230
                                                                                                                                                                  460.91

           7
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                1,956.85
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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                                                                         Document     Page 30 of 55
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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
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Account No. 508721                                                                Prior to 09/28/2010                                       E
                                                                                  For Notification Purposes                                 D

NorthShore University Health System                                               Debt Collection-Medical Services
c/o Van Ru Credit Corporation                                                   W Acct.#'s 508721-42933029,
1350 E. Touhy Avenue, Suite 100E                                                  508721-43042128, & 508721-43042129
Des Plaines, IL 60018-3307                                                        Ref. # 75769325
                                                                                                                                                                      0.00
Account No. 9386027                                                               06/14/2010
                                                                                  For Notification Purposes
NorthShore University Health System                                               Debt Collection
c/o Van Ru Credit Corporation                                                   W Medical Services
1350 E. Touhy Avenue, Suite 100E                                                  Ref. # 75809131
Des Plaines, IL 60018-3307
                                                                                                                                                                      0.00
Account No. 09-19868 CA 6                                                           Prior to 03/12/2009
                                                                                    For Notification Purposes
Thermal Concepts Inc.                                                               Consumer Debt
2201 College Avenue                                                             J
Davie, FL 33328

                                                                                                                                                                      0.00
Account No. xxx-xx-6385 & xxx-xx-9673                                               Prior to Date of Filing
                                                                                    For Notification Purposes
University Anesthesiology SC                                                        Medical Services
P.O. Box 128                                                                    J
Glenview, IL 60026-0128

                                                                                                                                                                      0.00
Account No. 13-2009-CA-026234                                                     12/30/2005
                                                                                  For Notification Purposes
Wells Fargo Bank, N.A.                                                            Deficiency Balance - First Mortgage
c/o Florida Default Law Group, P.L.                                             J 234 NE 3rd Street, Unit 1507
P.O. Box 25018                                                                    Miami, FL 33132-2272
Tampa, FL 33622-5018                                                              Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                      0.00

           8
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
                                                                                                                                                                      0.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Eugeny Matusevich,                                                                                     Case No.
                  Olga Matusevich
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 13-2009-CA-026234                                                     12/30/2005                                                E
                                                                                  For Notification Purposes                                 D

Wells Fargo Bank, N.A.                                                            Deficiency Balance - First Mortgage
c/o Corporation Service Company RA                                              J 234 NE 3rd Street, Unit 1507
1201 Hays Street, Suite 105                                                       Miami, FL 33132-2272
Tallahassee, FL 32301-2525                                                        Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                      0.00
Account No. xxx xxxxxxx 1998                                                      12/30/2005
                                                                                  Deficiency Balance - Second Mortgage
Wells Fargo Home Equity                                                           234 NE 3rd Street, Unit 1507
MAC S3837-020, 2nd Floor                                                        J Miami, FL 33132-2272
2222 W. Rose Garden Lane                                                          Property Sold By Judicial Sale:
Phoenix, AZ 85027-2644                                                            04/08/2010
                                                                                                                                                              34,096.57
Account No. xxx xxxxxxx 1998                                                      12/30/2005
                                                                                  For Notification Purposes
Wells Fargo Home Equity                                                           Deficiency Balance - Second Mortgage
Wells Fargo Bank, N.A.                                                          J 234 NE 3rd Street, Unit 1507
P.O. Box 4233                                                                     Miami, FL 33132-2272
Portland, OR 97208-4233                                                           Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                      0.00
Account No. xxx xxxxxxx 1998                                                      12/30/2005
                                                                                  For Notification Purposes
Wells Fargo Home Equity                                                           Deficiency Balance - Second Mortgage
Wells Fargo Bank, N.A.                                                          J 234 NE 3rd Street, Unit 1507
420 Montgomery Street                                                             Miami, FL 33132-2272
San Francisco, CA 94104                                                           Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                      0.00
Account No. xxx xxxxxxx 1998                                                      12/30/2005
                                                                                  For Notification Purposes-Debt Collection
Wells Fargo Home Equity                                                           Deficiency Balance - Second Mortgage
c/o PFG of Minnesota                                                            J 234 NE 3rd Street, Unit 1507
7825 Washington Avenue S, Suite 310                                               Miami, FL 33132-2272
                                                                                  Property Sold By Judicial Sale:
Minneapolis, MN 55439-2409
                                                                                  04/08/2010
                                                                                  Ref. # LAD169                                                                       0.00

           9
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                              Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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   In re          Eugeny Matusevich,                                                                                           Case No.
                  Olga Matusevich
                                                                                                                      ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
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                   (See instructions above.)                                R                                                                  E   D   D
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Account No. xxx xxxxxxx 1998                                                      12/30/2005                                                       E
                                                                                  For Notification Purposes-Debt Collection                        D

Wells Fargo Home Equity                                                           Deficiency Balance - Second Mortgage
c/o Accounts Receivable Management                                              J 234 NE 3rd Street, Unit 1507
P.O. Box 129                                                                      Miami, FL 33132-2272
                                                                                  Property Sold By Judicial Sale:
Thorofare, NJ 08086-0129
                                                                                  04/08/2010
                                                                                  Ref. # 22844466                                                                            0.00
Account No. xxxxxx9057                                                            12/30/2005
                                                                                  For Notification Purposes
Wells Fargo Home Mortgage                                                         Deficiency Balance - First Mortgage
P.O. Box 10335                                                                  J 234 NE 3rd Street, Unit 1507
Des Moines, IA 50306-0335                                                         Miami, FL 33132-2272
                                                                                  Property Sold By Judicial Sale:
                                                                                  04/08/2010
                                                                                                                                                                             0.00
Account No. xxxxxx9057                                                            12/30/2005
                                                                                  Deficiency Balance - First Mortgage
Wells Fargo Home Mortgage                                                         234 NE 3rd Street, Unit 1507
MAC #X7801-013                                                                  J Miami, FL 33132-2272
3476 Stateview Boulevard                                                          Property Sold By Judicial Sale:
Fort Mill, SC 29715                                                               04/08/2010
                                                                                                                                                                   285,243.54
Account No. xxxxxx1811                                                            07/08/2003
                                                                                  For Notification Purposes
Wells Fargo Home Mortgage                                                         First Mortgage:
MAC #X7801-013                                                                  J 362 Lake Shore Drive
3476 Stateview Boulevard                                                          Edgerton, WI 53534
Fort Mill, SC 29715                                                               Short Sale of Property:
                                                                                  01/19/2010
                                                                                                                                                                             0.00
Account No. xxxxxx1811                                                            07/08/2003
                                                                                  For Notification Purposes
Wells Fargo Home Mortgage                                                         First Mortgage:
P.O. Box 10335                                                                  J 362 Lake Shore Drive
Des Moines, IA 50306-0335                                                         Edgerton, WI 53534
                                                                                  Short Sale of Property:
                                                                                  01/19/2010
                                                                                                                                                                             0.00

           10 of _____
Sheet no. _____    10 sheets attached to Schedule of                                                                                         Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)              725,146.56


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B6G (Official Form 6G) (12/07)


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  In re             Eugeny Matusevich,                                                                                Case No.
                    Olga Matusevich
                                                                                                           ,
                                                                                           Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.




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                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Eugeny Matusevich,                                                                          Case No.
                 Olga Matusevich
                                                                                                      ,
                                                                                           Debtors
                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

          Eugeny Matusevich
 In re    Olga Matusevich                                                                               Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Self-Employed Remodeler                                  Unemployed
Name of Employer                    Eugeny Matusevich
How long employed                   1 Year
Address of Employer                 1137 Highland Lane
                                    Glenview, IL 60025-2541
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            0.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $             0.00       $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $             0.00
     b. Insurance                                                                                        $             0.00       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify):                                                                                 $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         2,200.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         2,200.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,200.00       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            2,200.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)

          Eugeny Matusevich
 In re    Olga Matusevich                                                                     Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,917.10
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   130.46
                   b. Water and sewer                                                                       $                    45.00
                   c. Telephone                                                                             $                    56.00
                   d. Other Waste Disposal                                                                  $                    28.00
3. Home maintenance (repairs and upkeep)                                                                    $                    50.00
4. Food                                                                                                     $                   350.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                    15.00
7. Medical and dental expenses                                                                              $                     0.00
8. Transportation (not including car payments)                                                              $                   100.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                    83.48
                   c. Health                                                                                $                 1,236.00
                   d. Auto                                                                                  $                     0.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Real Estate Taxes                                                                 $                  711.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other Second Mortgage - Chase Home Finance LLC                                        $                   810.96
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 5,583.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 2,200.00
b. Average monthly expenses from Line 18 above                                                              $                 5,583.00
c. Monthly net income (a. minus b.)                                                                         $                -3,383.00
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        Eugeny Matusevich
In re   Olga Matusevich                                             Case No.
                                                 Debtor(s)



              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                            Attachment A

Very Important Note Regarding Debtors' Expenses:

Based Upon Debtors' Current Income:

No Provision is Required For Federal or State Income Taxes
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Eugeny Matusevich
 In re       Olga Matusevich                                                                                      Case No.
                                                                                          Debtor(s)               Chapter    7




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                  30
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date January 4, 2011                                                         Signature   /s/ Eugeny Matusevich
                                                                                          Eugeny Matusevich
                                                                                          Debtor


 Date January 4, 2011                                                         Signature   /s/ Olga Matusevich
                                                                                          Olga Matusevich
                                                                                          Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                         Northern District of Illinois
             Eugeny Matusevich
 In re       Olga Matusevich                                                                                   Case No.
                                                                                         Debtor(s)             Chapter        7


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $0.00                                   2011 Year-to-Date
                                                                  Gross Income
                                                                  Eugeny
                                                                  Self-Employed Remodeler
                          $20,440.00                              2010 Gross Income
                                                                  Eugeny
                                                                  Self-Employed Remodeler
                          $-47,295.00                             2009 Gross Income
                                                                  Eugeny
                                                                  Ancor Management Group, L.L.C.
                                                                  &
                                                                  Ameris L.L.C.

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                           AMOUNT                                  SOURCE
                           $0.00                                   2011 Year-to-Date
                                                                   Gross Income
                                                                   Olga
                                                                   Unemployed
                           $0.00                                   2010 Gross Income
                                                                   Olga
                                                                   Unemployed
                           $-27,411.00                             2009 Gross Income
                                                                   Olga
                                                                   Ameris L.L.C.

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                  SOURCE
                           $7,018.00                               2010 Gross Income
                                                                   Rental Income
                                                                   Eugeny and Olga
                                                                   18683 Collins Avenue, Unit 1610
                                                                   Sunny Isles Beach, FL 33160-2404
                           $6,483.93                               2010 Gross Inocme
                                                                   Joint Accounts
                                                                   Shares Redeemed
                                                                   MainStay Investments
                           $3,000.00                               2010 Gross Income
                                                                   IRA Retirement Account
                                                                   (Date Closed: 03/31/2010)
                                                                   Eugeny
                                                                   Chase Bank
                           $1,000.00                               2010 Gross Income
                                                                   IRA Retirement Account
                                                                   (Date Closed: 04/01/2010)
                                                                   Olga
                                                                   Chase Bank

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                 DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                   PAYMENTS                 AMOUNT PAID                 OWING




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                                                                                                                                                              3
    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                       AMOUNT
                                                                                  DATES OF                              PAID OR
                                                                                  PAYMENTS/                           VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                     TRANSFERS                          TRANSFERS             OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                        AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                      DATE OF PAYMENT                 AMOUNT PAID              OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                              NATURE OF          COURT OR AGENCY                          STATUS OR
 AND CASE NUMBER                                                              PROCEEDING         AND LOCATION                             DISPOSITION
 JPMorgan Chase Bank                                                          First Mortgage     Circuit Court of Cook County             Pending
 vs.                                                                          Debtors'           Chancery Division
 Eugeny Matusevich                                                            Residence:
 &                                                                            1137 Highland
 Olga Matusevich                                                              Lane
 Case # 09CH14464                                                             Glenview, IL
                                                                              60025-2541
 Wells Fargo Bank, N.A.                                                       First Mortgage     Circuit Court of Dane County             Dismissed:
 vs.                                                                          Foreclosure        State of Wisconsin                       02/05/2010
 Eugeny Matusevich,                                                           362 Lake Shore
 Olga Matusevich,                                                             Drive
 &                                                                            Edgerton, WI
 Ameris, L.L.C.                                                               53534
 Case # 2009CV002162                                                          Short Sale of
                                                                              Property
                                                                              Date of Closing:
                                                                              01/19/2010
 Chase Bank USA N.A.                                                          Contract           Circuit Court of Cook County             Ex-Parte
 vs.                                                                          Complaint Filed    Municipal Division                       Judgment
 Olga Matusevich                                                              Credit Card        First District                           Entered:
 Case # 10 M1 157112                                                          Default                                                     10/05/2010
 Wells Fargo Bank, N.A.                                                       First Mortgage    Circuit Court of the Eleventh Judicial    Judicial Sale
 vs.                                                                          Foreclosure       Circuit                                   of Property:
 Eugeny Matusevich,                                                           Loft              Miami-Dade County, Florida                04/08/2010
 Olga Matusevich,                                                             Condominium
 &                                                                            Unit
 Ameris, L.L.C.                                                               234 NE 3rd Street
 Case # 13-2009-CA-026234                                                     Unit 1507
                                                                              Miami, FL
                                                                              33132-2272




* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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 CAPTION OF SUIT                                                              NATURE OF          COURT OR AGENCY                          STATUS OR
 AND CASE NUMBER                                                              PROCEEDING         AND LOCATION                             DISPOSITION
 Deutsche Bank National Trust Company                                         First Mortgage     Circuit Court of the Eleventh Judicial   Judicial Sale
 vs.                                                                          Foreclosure        Circuit                                  of Property:
 Eugeny Matusevich,                                                           Condominium        Miami-Dade County, Florida               07/13/2010
 Olga Matusevich,                                                             Unit
 &                                                                            18683 Collins
 Ancor Management Group, LLC                                                  Avenue
 Case # 09-19868 CA 6                                                         Unit 1610
                                                                              Sunny Isles
                                                                              Beach, FL
                                                                              33160-2404
 Citibank, N.A.                                                               Contract           Circuit Court of Cook County             Pending
 vs.                                                                          Complaint          Law Division
 Eugeny Matusevich                                                            Deficiency         First District
 Case # 10 L 010240                                                           Balance -
                                                                              Second
                                                                              Mortgage
                                                                              18683 Collins
                                                                              Avenue
                                                                              Unit 1610
                                                                              Sunny Isles
                                                                              Beach, FL
                                                                              33160-2404
                                                                              Judicial Sale of
                                                                              Property:
                                                                              07/13/2010

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE               PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                        DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                      FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                     TRANSFER OR RETURN                     PROPERTY
 American Home Mrtge. Servicing Inc.                                  07/13/2010                       Condominium Unit
 P.O. Box 619063                                                                                       18683 Collins Avenue, Unit 1610
 Dallas, TX 75261-9063                                                                                 Sunny Isles Beach, FL 33160-2404
                                                                                                       Property Sold By Judicial Sale:
                                                                                                       07/13/2010
                                                                                                       Value: $168,000.00
 Citibank, N.A.                                                       07/13/2010                       Condominium Unit
 c/oBlatt,Hasenmiller,Leibsker&Moore                                                                   18683 Collins Avenue, Unit 1610
 125 South Wacker Drive, Suite 400                                                                     Sunny Isles Beach, FL 33160-2404
 Chicago, IL 60606-4440                                                                                Property Sold By Judicial Sale:
                                                                                                       07/13/2010
                                                                                                       Value: $168,000.00




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                                                                        DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                      FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                     TRANSFER OR RETURN                    PROPERTY
 Wells Fargo Home Mortgage                                            04/08/2010                      Loft Condominium Unit
 MAC #X7801-013                                                                                       234 NE 3rd Street, Unit 1507
 3476 Stateview Boulevard                                                                             Miami, FL 33132-2272
 Fort Mill, SC 29715                                                                                  Property Sold By Judicial Sale:
                                                                                                      04/08/2010
                                                                                                      Value: $137,950.00
 Wells Fargo Home Equity                                              04/08/2010                      Loft Condominium Unit
 MAC S3837-020, 2nd Floor                                                                             234 NE 3rd Street, Unit 1507
 2222 W. Rose Garden Lane                                                                             Miami, FL 33132-2272
 Phoenix, AZ 85027-2644                                                                               Property Sold By Judicial Sale:
                                                                                                      04/08/2010
                                                                                                      Value: $137,950.00

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                         DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                   ORDER                PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                        DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                      DATE OF GIFT       VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS




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               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                             OF PROPERTY
 Dennis G. Knipp                                                                12/2010                               $3,500.00
 Attorney for Debtor
 PMB 142, 8926 N. Greenwood Avenue
 Niles, IL 60714

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                   DESCRIBE PROPERTY TRANSFERRED
       RELATIONSHIP TO DEBTOR                                                 DATE                         AND VALUE RECEIVED
 Larry Van Smith and Danielle Marie Smith                                     01/19/2010           Property in Foreclosure at Time of Short Sale.
 362 Lake Shore Drive                                                                              Single Family Dwelling
 Edgerton, WI 53534                                                                                362 Lake Shore Drive
    None                                                                                           Edgerton, WI 53534
                                                                                                   Short Sale Contract Price: $120,000.00
 Ewa Basnik                                                                   01/28/2009           Condominium Unit
 8894 Knight Avenue                                                                                8894 Knight Avenue
 Unit 208                                                                                          Unit 208
 Des Plaines, IL 60016                                                                             Des Plaines, IL 60016
    None                                                                                           Value Received: $8,349.66
 Prestige Leasing, Inc.                                                       06/10/2010           2004 Lexus 470
 88 E. Dundee Rd.                                                                                  Value Received: $2,256.00
 Buffalo Grove, IL 60089
    None

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                            AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)          IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                AND AMOUNT OF FINAL BALANCE                     OR CLOSING
 U.S. Bank, N.A.                                                                Checking Account                       Date Closed: 02/17/2010
 8500 W. Dempster St.                                                           Acct.# 2098                            Amount: $977.00
 Niles, IL 60714                                                                Final Balance: $977.00



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                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,              AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                AND AMOUNT OF FINAL BALANCE                       OR CLOSING
 Bank of America                                                                Checking Account                         Date Closed: 02/09/2010
 8950 N. Greenwood Avenue                                                       Acct.# 4121                              Amount: $300.00
 Niles, IL 60714                                                                Final Balance: $300.00
 Chase Bank                                                                     IRA Retirement Account (Eugeny)          Date Closed: 03/31/2010
 2801 Pfingsten Rd.                                                             Acct.# 7650                              Amount: $3,000.00
 Glenview, IL 60025                                                             Final Balance: $3,000.00
 Chase Bank                                                                     IRA Retirement Account (Olga)            Date Closed: 04/01/2010
 2801 Pfingsten                                                                 Acct.# 7626                              Amount: $1,000.00
 Glenview, IL 60025                                                             Final Balance: $1,000.00
 MainStay Investments                                                           Investment Account                       Date Sold: 11/08/2010
 P.O. Box 8401                                                                  International Fund 1                     Amount: $1,246.25
 Boston, MA 02266-8401                                                          Fund No. 1894
                                                                                Acct. # 793-9
                                                                                Final Balance: $1,246.25
 MainStay Investments                                                           Investment Account                       Date Sold: 11/08/2010
 P.O. Box 8401                                                                  Select Equity Fund 1                     Amount: $1,155.38
 Boston, MA 02266-8401                                                          Fund No. 1888
                                                                                Acct. # 793-9
                                                                                Final Balance: $1,155.38

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                          DESCRIPTION          DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                          OF CONTENTS           SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                           AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                                DATES OF OCCUPANCY




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               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                          STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.




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                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                      NATURE OF BUSINESS          ENDING DATES
 Amris Corporation                  XX-XXXXXXX                            1137 Highland Lane           Business Management -       02/04/2004 - Currently
                                                                          Glenview, IL 60025-2541      Rental Property             Not Doing Business
 Ancor Management                   XX-XXXXXXX                            475 Lindberg                 Property Management         01/01/2004 - Debtor
 Group, L.L.C.                                                            Northbrook, IL 60062                                     Does Not Actively
                                                                                                                                   Participate in
                                                                                                                                   Business
 Ameris L.L.C.                      XX-XXXXXXX                            1137 Highland Lane           Real Estate - Rental        01/01/2005 -
                                                                          Glenview, IL 60025-2541      Property                    12/31/2009
 Aris Corporation                   XX-XXXXXXX                            1137 Highland Lane           Property Management         08/19/2004 -
                                                                          Glenview, IL 60025-2541      Consulting                  08/31/2009

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                             DATES SERVICES RENDERED
 Marina Shapiro - CPAS, Inc.                                                                                  October, 2006 - 2010
 580 Roger Williams Avenue
 Suite 26
 Highland Park, IL 60035-4820

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                 ADDRESS                                                 DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                            ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                     DATE ISSUED




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               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                              DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                    INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                           NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                         RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                             NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                              NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                             TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                            ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                             TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                         AMOUNT OF MONEY
 OF RECIPIENT,                                                                DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                       OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)




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               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date January 4, 2011                                                         Signature        /s/ Eugeny Matusevich
                                                                                               Eugeny Matusevich
                                                                                               Debtor


 Date January 4, 2011                                                         Signature        /s/ Olga Matusevich
                                                                                               Olga Matusevich
                                                                                               Joint Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Eugeny Matusevich
 In re       Olga Matusevich                                                                                      Case No.
                                                                                          Debtor(s)               Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                          Describe Property Securing Debt:
 -NONE-

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                  Describe Leased Property:                      Lease will be Assumed pursuant to 11
 -NONE-                                                                                                         U.S.C. § 365(p)(2):
                                                                                                                   YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date January 4, 2011                                                         Signature   /s/ Eugeny Matusevich
                                                                                          Eugeny Matusevich
                                                                                          Debtor


 Date January 4, 2011                                                         Signature   /s/ Olga Matusevich
                                                                                          Olga Matusevich
                                                                                          Joint Debtor




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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Eugeny Matusevich
 In re       Olga Matusevich                                                                                       Case No.
                                                                                          Debtor(s)                Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                      $                  3,500.00
              Prior to the filing of this statement I have received                                            $                  3,500.00
              Balance Due                                                                                      $                      0.00

2.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
               reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
               522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       January 4, 2011                                                             /s/ Dennis G. Knipp
                                                                                          Dennis G. Knipp
                                                                                          Dennis G. Knipp
                                                                                          PMB 142
                                                                                          8926 N. Greenwood Avenue
                                                                                          Niles, IL 60714
                                                                                          847-562-0729 Fax: 847-562-0849




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF ILLINOIS
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
             Eugeny Matusevich
 In re       Olga Matusevich                                                                                     Case No.
                                                                                       Debtor(s)                 Chapter        7


                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                             Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Eugeny Matusevich
 Olga Matusevich                                                                         X /s/ Eugeny Matusevich                       January 4, 2011
 Printed Name(s) of Debtor(s)                                                              Signature of Debtor                         Date

 Case No. (if known)                                                                     X /s/ Olga Matusevich                         January 4, 2011
                                                                                           Signature of Joint Debtor (if any)          Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                 United States Bankruptcy Court
                                                                         Northern District of Illinois
             Eugeny Matusevich
 In re       Olga Matusevich                                                                                   Case No.
                                                                                         Debtor(s)             Chapter    7




                                                       VERIFICATION OF CREDITOR MATRIX

                                                                                               Number of Creditors:                                 66




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:      January 4, 2011                                                   /s/ Eugeny Matusevich
                                                                              Eugeny Matusevich
                                                                              Signature of Debtor

 Date:      January 4, 2011                                                   /s/ Olga Matusevich
                                                                              Olga Matusevich
                                                                              Signature of Debtor




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